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IN THE UNITBD sTATEs DISTRICT coURT F\EBY..-. ________M
FOR THE WESTERN DISTRICT OF TENNESSEE
wEsTERN DIVISION USRUGZg m 5,“3
U.S. US mm
UNITED sTATES oF AMERICA W%OFTNMMI_¢S
Plaintiff,
v. Criminal No.°-g -7~09~6'0 Ml
LHAF J;HAJGA/ (30-Day Continuance)

 

 

 

 

 

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Defendant (s) .

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF 'I`IME

 

As indicated. by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Seotember 23, 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26th day of August, 2005.

this document entered on the docket sheet n compliance
with Hu|e 55 anal/or 32(b) FHCrP on 5 'é/*'Qj /[/

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so ORDERED this 26th day of August;, 2005.

QMQQ

 

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

S:/i;h._. {7z/el/L

Assistant United States Attorney

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Counsel for Defendant(s)

   

UNITED sTATE DRISTIC COUR - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20260 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

